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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

__________________________________________
DAVID B. KELLER and                        :
FLORENCE KELLER                            :
                                           :
            Plaintiffs,                    :
                                           :
            -vs-                           :
                                           : Civil Action No.
ROBERT A SIRRIDGE, NATIONAL CARRIER :
JOHN DOES I-XX, XYZ CORPORATION            : JURY TRIAL DEMANDED
 I-XX and RON ROE I-XX                     :
                                           :
            Defendants                     :
_________________________________________ :

                                  NOTICE OF REMOVAL

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY:

         Defendants, Robert A. Sirridge and National Carriers, Inc. (improperly named as

National Carriers), by and through their attorneys, Rawle & Henderson LLP, respectfully aver as

follows:

         1.    At all materials times, plaintiffs, David B. Keller and his wife Florence Keller,

were and are citizens of the State of New Jersey, and currently reside in Trenton, County of

Mercer, New Jersey. (See Amended Complaint attached hereto as Exhibit “A”)

         2.    At all material times, Defendant, National Carriers, Inc. was and is a corporation

incorporated under the laws of the State of Kansas and maintains its principal place of business

in Liberal, Kansas.

         3.    Defendant, Robert A. Sirridge, was and is a citizen and resident of the State of

Kansas.




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         4.       Plaintiff commenced this civil action against Defendants in the Superior Court of

New Jersey, Law Division, Mercer County by Complaint filed on or about December 4, 2017.

On December 11, 2017 an amended complaint was filed. Defendant Sirridge was served with

Plaintiff’s Complaint on or about December 16, 2014. (A copy of the proof of service is attached

hereto and made part hereto as Exhibit “B”) Upon information and belief, National Carriers, Inc.

was served the Complaint and then the amended Complaint on December 18, 2017 and

December 20, 2017 respectively. (See attached proof of service attached collectively as Exhibit

“C”) Therefore, this Notice of Removal to Federal Court is timely filed.

             5.   Plaintiff alleges the following in his Amended Complaint:

                  As a result …., Plaintiff, David Keller sustained severe external and
                  internal inquiries of a permanent and disabling nature, suffered great pain,
                  was prevented from attending to his usual affairs and occupation, incurred
                  expenses for medical and hospital care.
                  (See Exhibit “A,” First Count, Paragraph 3).

         6.       Based upon a fair reading of the Complaint, Plaintiffs have set forth claim in

which the amount in excess of the jurisdictional limit of $75,000.00, exclusive of interest and

costs, may be at stake.

         7.       Diversity of citizenship within the meaning of 28 U.S.C. §1332 exists between

Plaintiff and Defendants as no defendant is a citizen of New Jersey. See paragraphs 1 through 6

above.

         8.       Furthermore, diversity of citizenship existed at the time the action sought to be

removed was commenced and continues through the time of filing of this notice, such that

Defendant is entitled to removal pursuant to 28 U.S.C. §1441 as amended, and 28 U.S.C. §1446.

         WHEREFORE, Defendant, Robert A. Sirridge and National Carriers, Inc. (improperly

named as National Carriers), prays that the above captioned action now pending in the Superior




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Court of New Jersey, Law Division, Mercer County, be removed therefrom to this Honorable

Court.


                                 RAWLE & HENDERSON LLP




                                 By:_______________________________________
                                       Delia A. Clark
                                       Attorneys for Defendants,
                                       Robert Sirridge and National Carriers, Inc.
                                       40 Lake Center Executive Park, Suite 200
                                       401 Route 73 North
                                       Marlton, New Jersey 08053
                                       856-596-4800

Dated: January 16, 2018




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                                CERTIFICATE OF SERVICE


         I hereby certify that on this 16th day of January, 2018 a copy of Defendants Notice of

Removal and 7.1 Disclosure Statement was served via facsimile and first-class mail, postage

prepaid, on the following:



                                     Michael W. Krutman
                                Law Office of Michael Krutman
                                    2525 Nottingham Way
                                     Hamilton, NJ 08619




                                            RAWLE & HENDERSON, LLP


                                            ________________________________
                                            Delia A. Clark
                                            Attorney for Defendants




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